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                               U NITED STA TES D ISTRICT CO URT
                               SOUTH ERN DISTRICT OF FLORIDA
                                       M IA M IDIVISION
                               CaseNo.:15-cv-23971-Lenar(l/Goodman

   ZO ILA M CINO S,

                      Plaintiff,



   M B FLORIDA LIM ITED,LLC (Fb/a Grand
   Beach Hote1,5 STAR SERV ICE,IN C.,and
   GLA DY S FUN DORA ,

                   D efendants.



                                      FINAL JUD G M ENT

          For the reasons stated in the Court's Order Adopting Reportand Recom m endations of

   M agistrate Judge Goodm an and Granting Plaintiff's Renew ed M otion for Final Default

   Judgment(D.E.           ),itisORDERED AND ADJUDGED that:
          (1)Plaintiff,Zoila Rccinos,shallrecover from Defendants 5 Star Services,Inc.and
   GladysFundora,jointlyandsevcrally,thesum of$21,193.64,consistingof$10,596.82inunpaid
   minimum and overtim e wages and $10,596.82 in liquidated dam ages,for which letexecution
   issue;and

          (2)Saenz& Anderson,PLLC shallrecoverfrom Defendants5 StarServices,Inc.and
   GladysFundora,jointly and severally,the sum of$22,870.00 in attomey'sfees,forwhich let
   execution issue.

          lnterestfrom the date this Judgm entis filed shallaccrue atthe legalrate.See 28 U .S.C.

   j 1961.
          DONEANDORDEREDinChambcrsatMiami,Floridathisb0'dayoflanuary,20l7.
Case 1:15-cv-23971-JAL Document 105 Entered on FLSD Docket 01/31/2017 Page 2 of 2




                                                      V   .
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                                         JO A A ,LEN ARD
                                         1-1N 1 D STA TES DISTRICT JU DG E

   Copiesfurnished to:
   Jonathan Goodm an
   A l1CounselofRecord
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   Gardens,Florida 33016
